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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                               CASE NO. 14-24887-MC-SEITZ/LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
  _____________________________________

                   APPLICANT HORNBEAM CORPORATION’S MOTION
                            TO BRIEF PENDING DISPUTE

     I.      BACKGROUND

     On November 5, 2018, Intervenors Halliwel Assets, Inc. and Panikos Symeou (“Symeou

  Parites”) and Subpoena Respondents, CC Metals and Alloys, LLC, Felman Production, LLC,

  Felman Trading, Inc., Georgian American Alloys, Inc., Mordechai Korf, Optima Acquisitions,

  LLC, Optima Group, LLC, Optima Fixed Income, LLC, Optima Ventures, LLC, Optima

  International of Miami, Inc., and 5251 36ST, LLC (“Subpoena Respondents”) filed a Motion for

  Hearing on Pending Disputes. (ECF No. 292).

     In a Paperless Order, the Court denied the Motion for Hearing on Pending Disputes, but

  granted Movants’ alternative request to brief the matters in dispute. (ECF No. 293). The Court

  allowed the Movants to “file a motion, not to exceed ten pages in length, on or before November

  30, 2018. Opposition(s) thereto shall be filed on or before December 11, 2018, also not to exceed

  ten pages in length. No reply shall be filed.” See id.

     Movants’ Motion for Hearing on Pending Disputes failed to raise another dispute that is

  currently pending in this matter. Accordingly, and as set forth in greater detail below, Applicant

  Hornbeam Corporation hereby requests that it be permitted to brief the pending issue of
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  Subpoena Respondents’ designation of certain information as Attorneys’ Eyes Only as part of

  the briefing schedule laid out in the Court’s November 5, 2018 Paperless Order.

         II.      ARGUMENT

         During the October 23, 2018 and October 24, 2018 Rule 30(b)(6) depositions of the

  Subpoena Respondents, and the October 25, 2018 deposition of Mordechai Korf, counsel for

  Subpoena Respondents designated the testimony concerning the identities of certain individuals

  (who were shareholders or otherwise involved in one or more entities that were owned by

  Subpoena Respondents and/or the Intervenors, Igor Kolomoisky, Halliwel Assets, Inc., and

  Panikos Symeou), as well as certain dollar amounts, as Attorneys’ Eyes Only (“AEO”). Counsel

  for Subpoena Respondents generically cited scope and relevance as the basis for the designation.

         Counsel for Applicant Hornbeam Corporation objected to the designations during the

  depositions and retained the right to raise the issue before the Court. Because Subpoena

  Respondents failed to cite any valid reason for designating the information as AEO, counsel for

  Hornbeam formally objected to the AEO designations and requested that they be removed on

  November 1, 2018. Counsel for Subpoena Respondents refused to remove the designations1 and

  therefore counsel for Hornbeam now brings the instant motion.

         Pursuant to the Stipulated Protective Order, the designating Party, in this case the Subpoena

  Respondents, have “the burden of demonstrating that the contested Responsive Material should

  be designated Attorneys’ Eyes Only.” (ECF No. 224 at 3(g)). Subpoena Respondents have failed

  to meet their burden, and instead simply claim that the information designated as AEO is outside

  of the scope of the Court’s Omnibus Order (ECF No. 209) and is irrelevant to the issues.




  1
      See Exhibit 1.

                                                     2
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     Making vague and inaccurate objections does not form the proper basis for designating

  information as AEO, a designation which is typically reserved for trade secrets and the like. See

  e.g. Core Laboratories LP v. AmSpec, No. 16-0526, 2017 WL 3585420 at *2 (S.D. Ala. Aug 18,

  2017) (“The court may, for good cause, issue an order to protect a party or person requiring that

  a trade secret or other confidential research, development, or commercial information not be

  revealed or be revealed only in a specified way . . . . [T]he fact that an AEO designation may

  sometimes be appropriate does not mean it must be used in all cases involving sensitive or

  confidential information. The burden is on the movant to show the necessity of the protective

  order, and the movant must meet this burden with a particular and specific demonstration of fact

  as distinguished from stereotyped and conclusory statements.”) (internal quotation marks and

  citations omitted); Rubenstein Law, P.A. v. Friedman Law Associates, P.L., 16-cv-1511, 2017

  WL 385757 at *2 (M.D. Fla. Jan. 27, 2017) (The standard used to determine whether trade

  secrets and other confidential information are entitled to protection is whether the disclosure of

  such information would result in a “specified harm.”) (citation omitted).

     Subpoena Respondents have failed to explain why the AEO designation applies to the

  identities of certain individuals and certain dollar amounts, or what specified harm they would

  suffer without the AEO designation. Subpoena Respondents have also failed to explain why the

  designation of AEO is necessary when, and if warranted, the less onerous designation of

  “Confidential” is available. Thus they have failed to meet their burden.

     III.    CONCLUSION

     For these reasons, Applicant Hornbeam Corporation respectfully requests that it be able to

  brief this additional pending issue pursuant to the briefing schedule set out in the Court’s

  November 5, 2018 Paperless Order.



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  Date: November 7, 2018             Respectfully submitted

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           CERTIFICATE OF CONFERENCE PURSUANT TO S.D. FLA. L.R. 7.1

         I HEREBY CERTIFY that Carol E. Bruce, counsel for Applicant Hornbeam Corporation,

  met and conferred with Bruce Marks, counsel for Intervenors, Jorge Guttman, counsel for

  Subpoena Respondents, and Andrew Kruppa, counsel for Specialty Steel Works, Inc., regarding

  the substance and relief sought by this Motion in a good faith attempt at resolving the issue

  raised herein, but was unable to obtain agreement as of the time of filing this Motion.


                                               By:     /s/ Carol E. Bruce
                                                       Carol E. Bruce




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 7, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.



                                               By: /s/ Jane Moscowitz
                                                   Jane W. Moscowitz




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